
32 N.Y.2d 675 (1973)
The People of the State of New York, Appellant,
v.
Michael Shaheen and Henry Zoller, Respondents.
Court of Appeals of the State of New York.
Argued January 12, 1973.
Decided March 15, 1973.
George P. Aspland, District Attorney (Ronald E. Lipetz of counsel), for appellant.
Kenneth B. Keating and David J. Gilmarten for respondents.
Concur: Chief Judge FULD and Judges BURKE, JASEN, GABRIELLI, JONES and WACHTLER. Taking no part: Judge BREITEL.
Order affirmed on the ground that the evidence adduced did not establish beyond a reasonable doubt the violation of harassment.
